Case 4:19-cr-00068-A Docwaagthekn pledge:

UNITED STATES DISTRICT COURT
oe Prxkage 1of1 PagelD 26
Fort Worth DEVISION

HONORABLE John McBryde, PRESIDING

 

 

DEPUTY CLERK: F. Arnold COURT REPORTER: Debbie Saenz
LAW CLERK USPO

INTERPRETER:

A.M. 10:30 DATE HELD: March 22, 2019

TOTAL COURT

TIME: 17 mins CSO: Ray Urban
CR. No. 4:19-CR-068-A DEFT NO.O1

UNITED STATES OF AMERICA § ROBERT BOUDREAU, AUSA
§
v. §
§
WILLIE CLAYTON DAVIDSON § LEIGH DAVIS, APPOINTED
Defendant's Name Counsel for Defi. Apptd-fA), Retd-(R), FPD-(F)

 

Trial Status:

ARRAIGNMENT/GUILTY PLEA
(J Completed by Jury Verdict [J Continued from Previous Month (] Directed Verdict (] Evidence Entered

CJ Hung Jury Cj Jury Selection Only, continued CI Jury Selection or Verdict Only (No Trial Before this Judge)
C] Mistrial v Guilty Plea Days in Trial; Hearing Concluded: v Yes LINo

 

Defendant SWORN. -
: i U.S. DISTRICT COURT
Arraignment/Guilty Plea - Held on count(s) 1 of the 1 count Information. NORTHERN DISTRICT OF TEXAS

 

 

 

 

 

 

New Sentencing Guidelines (NSG) offense committed on or after (11/1/87). FILED

Defense waived reading of the Information.

Deft enters a plea of CI Not Guilty WGuilty EINolo | MAR 2 2 2018

Consent to proceed before U.S. Magistrate Judge on misdemeanor cage.

Waiver of Jury Trial CLERK, U.S. DISTRICT COURT

Waiver of Indictment, filed. BY nner
deputy

Plea Agreement accepted. L_] Court defers acceptance of Plea Agreement:

Piea Agreement filed Woo... No Plea Agreement.

Plea Agreement included with Factual Resume.

Factual Resume filed.

Defendant is adjudged guilty as to Count(s) 1 of Information.

Sentencing set July 26,2019 at 10:00 a.m.

Trial set for at am/pm,

Pretrial motions due: . Discovery motions/Government Responses due:
Order for PSI, Disclosure Date and Setting Sentencing entered.

PSI waiver filed. PSI due: June 3, 2019, + Presentence Referrai Form to: Leigh Davis.
Defts bond (] set [J reduced to $ CM cash C] Surety CJio% Clee
Deft failed to appear, bench warrant to issue.

Bond LI continued [1 forfeited

Deft Custody/Detention continued,

Deft ORDERED into custody.

MOTHER PROCEEDINGS: Govt read the Information and Waiver of Indictment for the record,

 
